Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.104 Page 1 of 20



  1   Lyne A. Richardson CA Bar No. 143566
      lyne.richardson@ogletree.com
  2   Glendy Lau, CA Bar No. 280174
      glendy.lau@ogletree.com
  3   OGLETREE, DEAKINS, NASH,
      SMOAK & STEWART, P.C.
  4   4370 La Jolla Village Drive, Suite 990
      San Diego, CA 92122
  5   Telephone: 310-217-8191
      Facsimile: 310-217-8184
  6
      Attorneys for Defendant
  7   SOUTHWEST KEY PROGRAMS, INC.
  8                       UNITED STATES DISTRICT COURT
  9                    SOUTHERN DISTRICT OF CALIFORNIA
 10

 11 MARIA HERNANDEZ, as an                     Case No. 3:19-cv-01636-AJB-AHG
    individual; AZAEL SANCHEZ, as an
 12 individual; and ROBERTO NAVA, as           CLASS ACTION
    an individual, and on behalf of all
 13 others similarly situated,                 DECLARATION OF GLENDY LAU
 14              Plaintiffs,
 15        v.
 16 SOUTHWEST KEY PROGRAMS,
    INC., a Texas corporation;
 17 TALENTWISE, INC., a Delaware

 18
    corporation, and DOES 1-50,                Complaint Filed: July 12, 2019
                                               Trial Date:      None
 19              Defendants.

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                                               1              Case No. 3:19-cv-01636-AJB-AHG
                                DECLARATION OF GLENDY LAU
Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.105 Page 2 of 20



  1   I, Glendy Lau, declare:
  2         1.     I am an attorney at law duly licensed and admitted to the United States
  3   District Court for the Southern District of California. I am an attorney with the law
  4   firm of Ogletree, Deakins, Nash, Smoak & Stewart, P.C., counsel of record for
  5   Southwest Key Programs, Inc. I am familiar with the facts and circumstances
  6   reflected below and surrounding this litigation. If called as witness, I could and
  7   would competently testify to the following.
  8         2.     Pursuant to Rule 26(f) and this Court’s July 10, 2019 Order: (1)
  9   Resetting Early Neutral Evaluation, and (2) Issuing Pre-Conference Procedures,
 10   (“July 10, 2019 Order”), Plaintiffs Maria Hernandez, Roberto Nava, and Azael
 11   Sanchez (“Plaintiffs”) and Defendant Southwest Key Program, Inc. (“Defendant”)
 12   (collectively, the “Parties”) are to submit a Joint Case Management Statement (“Joint
 13   Statement”) by October 20, 2019. Since October 20, 2019 is a Sunday, the Parties
 14   need to file their Joint Statement by October 18, 2019.
 15         3.     On October 9, 2019, I emailed Plaintiffs’ counsel of record, Zachary
 16   Crosner (zach@crosnerlegal.com), Michael Crosner (mike@crosnerlegal.com), and
 17   Brent Marlis (brent@marlispark.com) to meet and confer pursuant to Rule 26(f).
 18   Attached hereto as Exhibit A is a true and correct copy of my October 9, 2019
 19   email. I received no response.
 20         4.     To facilitate discussion, I prepared a draft Joint Statement, which I
 21   emailed to Plaintiffs’ counsel of record on October 15, 2019. Attached hereto as
 22   Exhibit B is a true and correct copy of my October 15, 2019 email. I received no
 23   response.
 24         5.     On October 17, 2019, I followed up with Plaintiffs’ counsel of record
 25   again, inquiring about the status and requesting that they inform me whether they
 26   will be incorporating Plaintiffs’ positions to the draft Joint Statement. Attached as
 27   Exhibit C is a true and correct copy of my October 17, 2019 email. Again, I
 28   received no response.
                                                 2                Case No. 3:19-cv-01636-AJB-AHG
                                   DECLARATION OF GLENDY LAU
Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.106 Page 3 of 20



  1         6.     Since Plaintiffs’ counsel have failed to meet and confer, Defendant
  2   submits its Case Management Statement, attached hereto as Exhibit D.
  3         I declare under penalty of perjury under the laws of the State of California and
  4   the United States of America that the foregoing is true and correct.
  5         Executed on this 18th day of October, 2019 in Torrance, California.
  6
                                                     /s/ Glendy Lau
  7                                                  Glendy Lau
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                                                 3                Case No. 3:19-cv-01636-AJB-AHG
                                   DECLARATION OF GLENDY LAU
Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.107 Page 4 of 20




                       EXHIBIT A


                                     4
                      Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.108 Page 5 of 20

Martis, Carolina S.




From:                                    Lau, Glendy C.
Sent:                                    Wednesday, October 9, 2019 3:10 PM
To:                                      zach@crosnerlegal.com; mike@crosnerlegal.com; 'Brent Marlis'
Subject:                                 Hernandez v. Southwest Key (Class Action)


Dear Counsel,

Per Judge Goddard’s orders, today is the last day to meet and confer pursuant to Rule 26(f). The order also states that
our joint case management statement is due on October 20 (which is a Sunday), so I assume we should file it by October
18. Please let me know when are available to discuss.

Thank you,
Glendy


Glendy C. Lau | Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
19191 S. Vermont Avenue, Suite 950 | Torrance, CA 90502 | Telephone: 310-965-2074 | Fax: 310-217-8184
glendy.lau@ogletree.com | www.ogletree.com | Bio




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Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.109 Page 6 of 20




                       EXHIBIT B


                                      6
                      Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.110 Page 7 of 20

Martis, Carolina S.




From:                                    Lau, Glendy C.
Sent:                                    Tuesday, October 15, 2019 3:03 PM
To:                                      zach@crosnerlegal.com; mike@crosnerlegal.com; 'Brent Marlis'
Subject:                                 RE: Hernandez v. Southwest Key (Class Action)
Attachments:                             Joint Case Management Statement.DOCX


Dear Counsel,

Attached is a draft joint statement. Please incorporate Plaintiffs’ positions and revisions in track changes. The joint
statement is due this Friday.

Thanks,
Glendy


Glendy C. Lau | Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
19191 S. Vermont Avenue, Suite 950 | Torrance, CA 90502 | Telephone: 310-965-2074 | Fax: 310-217-8184
glendy.lau@ogletree.com | www.ogletree.com | Bio



From: Lau, Glendy C.
Sent: Wednesday, October 9, 2019 3:10 PM
To: 'zach@crosnerlegal.com' <zach@crosnerlegal.com>; 'mike@crosnerlegal.com' <mike@crosnerlegal.com>; 'Brent
Marlis' <brent@marlispark.com>
Subject: Hernandez v. Southwest Key (Class Action)

Dear Counsel,

Per Judge Goddard’s orders, today is the last day to meet and confer pursuant to Rule 26(f). The order also states that
our joint case management statement is due on October 20 (which is a Sunday), so I assume we should file it by October
18. Please let me know when are available to discuss.

Thank you,
Glendy


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Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.111 Page 8 of 20




                       EXHIBIT C


                                      8
                      Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.112 Page 9 of 20

Martis, Carolina S.




From:                                    Lau, Glendy C.
Sent:                                    Thursday, October 17, 2019 11:56 AM
To:                                      zach@crosnerlegal.com; mike@crosnerlegal.com; 'Brent Marlis'
Subject:                                 RE: Hernandez v. Southwest Key (Class Action)


Dear Counsel,

I wanted to follow up on my previous emails. Our joint statement is due tomorrow, and I haven’t heard from your
office. Will you be incorporating Plaintiffs’ positions to Defendant’s draft joint statement? Please let me know by the
end of today.

Thanks,
Glendy


Glendy C. Lau | Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
19191 S. Vermont Avenue, Suite 950 | Torrance, CA 90502 | Telephone: 310-965-2074 | Fax: 310-217-8184
glendy.lau@ogletree.com | www.ogletree.com | Bio



From: Lau, Glendy C.
Sent: Tuesday, October 15, 2019 3:03 PM
To: 'zach@crosnerlegal.com' <zach@crosnerlegal.com>; 'mike@crosnerlegal.com' <mike@crosnerlegal.com>; 'Brent
Marlis' <brent@marlispark.com>
Subject: RE: Hernandez v. Southwest Key (Class Action)

Dear Counsel,

Attached is a draft joint statement. Please incorporate Plaintiffs’ positions and revisions in track changes. The joint
statement is due this Friday.

Thanks,
Glendy


Glendy C. Lau | Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
19191 S. Vermont Avenue, Suite 950 | Torrance, CA 90502 | Telephone: 310-965-2074 | Fax: 310-217-8184
glendy.lau@ogletree.com | www.ogletree.com | Bio



From: Lau, Glendy C.
Sent: Wednesday, October 9, 2019 3:10 PM
To: 'zach@crosnerlegal.com' <zach@crosnerlegal.com>; 'mike@crosnerlegal.com' <mike@crosnerlegal.com>; 'Brent
Marlis' <brent@marlispark.com>
Subject: Hernandez v. Southwest Key (Class Action)

Dear Counsel,



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     Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.113 Page 10 of 20
Per Judge Goddard’s orders, today is the last day to meet and confer pursuant to Rule 26(f). The order also states that
our joint case management statement is due on October 20 (which is a Sunday), so I assume we should file it by October
18. Please let me know when are available to discuss.

Thank you,
Glendy


Glendy C. Lau | Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
19191 S. Vermont Avenue, Suite 950 | Torrance, CA 90502 | Telephone: 310-965-2074 | Fax: 310-217-8184
glendy.lau@ogletree.com | www.ogletree.com | Bio




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Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.114 Page 11 of 20




                       EXHIBIT D


                                       11
Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.115 Page 12 of 20



  1   Lyne A. Richardson CA Bar No. 143566
      lyne.richardson@ogletree.com
  2   Glendy Lau, CA Bar No. 280174
      glendy.lau@ogletree.com
  3   OGLETREE, DEAKINS, NASH,
      SMOAK & STEWART, P.C.
  4   4370 La Jolla Village Drive, Suite 990
      San Diego, CA 92122
  5   Telephone: 310-217-8191
      Facsimile: 310-217-8184
  6
      Attorneys for Defendant
  7   SOUTHWEST KEY PROGRAMS, INC.
  8                       UNITED STATES DISTRICT COURT
  9                    SOUTHERN DISTRICT OF CALIFORNIA
 10

 11 MARIA HERNANDEZ, as an                      Case No. 3:19-cv-01636-AJB-AHG
    individual; AZAEL SANCHEZ, as an
 12 individual; and ROBERTO NAVA, as            CLASS ACTION
    an individual, and on behalf of all
 13 others similarly situated,                  DEFENDANT’S CASE
                                                MANAGEMENT STATEMENT
 14              Plaintiffs,
 15        v.
 16 SOUTHWEST KEY PROGRAMS,
    INC., a Texas corporation;
 17 TALENTWISE, INC., a Delaware

 18
    corporation, and DOES 1-50,
                                                Complaint Filed: July 12, 2019
 19              Defendants.                    Trial Date:      None
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                                              1             Case No. 3:19-cv-01636-AJB-AHG
                           DEFENDANT’S CASE MANAGEMENT STATEMENT
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Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.116 Page 13 of 20



  1         Pursuant to this Court’s July 10, 2019 Order: (1) Resetting Early Neutral
  2   Evaluation, and (2) Issuing Pre-Conference Procedures, (“July 10, 2019 Order”),
  3   Defendant Southwest Key Program, Inc. (“Defendant”) attempted to meet and confer
  4   with Plaintiffs Maria Hernandez, Azael Sanchez, and Roberto Nava’s (“Plaintiffs”)
  5   counsel of record to prepare a Joint Case Management Statement. However,
  6   Plaintiffs’ counsel has been unresponsive. Therefore, Defendant submits its Case
  7   Management Statement (“Statement”).
  8         Defendant has not finished preparing for the October 30, 2019 Early Neutral
  9   Evaluation and Case Management Conference and reserves the right to supplement
 10   or amend this Statement and discovery plan.
 11         1.     Jurisdiction and Service
 12         This Court has subject-matter jurisdiction over Plaintiffs’ Federal Fair Credit
 13   Reporting Act (“FCRA”) claims pursuant to 28 U.S.C. § 1331 because Plaintiffs’
 14   claims arise under the FCRA, 15 U.S.C. § 1681, et seq. This Court has supplemental
 15   jurisdiction over Plaintiffs’ state law claims pursuant to 28 U.S.C. § 1367(a) because
 16   these claims arise from a common set of operative facts and are so related to the
 17   claims within this Court’s original jurisdiction that they form a part of the same case
 18   or controversy. This Court also has jurisdiction pursuant to 28 U.S.C. § 1332 on the
 19   basis of complete diversity of citizenship among the Parties and the amount in
 20   controversy exceeds $75,000.
 21         All parties have been served.
 22         2.     Facts
 23         Plaintiffs allege that Defendant violated the Federal Fair Credit Reporting Act
 24   (“FCRA”) and California Investigative Consumer Reporting Agencies Act
 25   (“ICRAA”).
 26         Defendant denies all of Plaintiffs’ allegations, denies that it violated the FCRA
 27   and ICRAA, and denies that Plaintiffs’ claims can be resolved on a class basis.
 28   Defendant contends that Plaintiffs have not and cannot state a basis to pursue this
                                               2             Case No. 3:19-cv-01636-AJB-AHG
                            DEFENDANT’S CASE MANAGEMENT STATEMENT
                                               13
Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.117 Page 14 of 20



  1   matter as a class action.
  2         3.     Legal Issues
  3         Defendant contends that it complied with all requirements under the FCRA
  4   and ICRAA. Defendant provided Plaintiffs: (1) a stand-alone authorization form for
  5   background checks pursuant to FCRA section 1681b(b)(2)(A); (2) a summary of
  6   rights pursuant to FCRA section 1681g(c); (3) disclosure that the background report
  7   may include investigation into “personal characteristics” and “mode of living”
  8   pursuant to FCRA section 1681d(a)(1) and California Civil Code section 1786.16;
  9   (4) information relating to Plaintiffs’ right to inspect files pursuant to California
 10   Civil Code section 1786.22; (5) and the name, address, telephone number, and
 11   website of the investigative consumer reporting agency conducting the investigation
 12   pursuant to California Civil Code section 1786.20.
 13         4.     Motions
 14         Defendant has not filed any motions yet. Defendant intends to file a motion
 15   for summary judgment. Defendant may also file a motion for protective order
 16   concerning the scope of discovery/proportionality, depending upon how Plaintiffs’
 17   address discovery given the breadth of the class definition and the alleged claims.
 18         5.     Amendment of Pleadings
 19         Defendant does not currently anticipate amending its Answer but reserves the
 20   right to amend if the need arises.
 21         6.     Evidence Preservation
 22         Defendant certifies that it has reviewed the Checklist for Rule 26(f) Meet and
 23   Confer Regarding Electronically Stored Information.
 24         7.     Disclosures
 25         Pursuant to the Court’s July 10, 2019 Order, Defendant plans to exchange
 26   Initial Disclosures in accordance with Rule 26(a)(1), on or before October 23, 2019.
 27         8.     Discovery
 28         No discovery has been served to date. Pursuant to Rule 26(f)(3), Defendant
                                                3             Case No. 3:19-cv-01636-AJB-AHG
                             DEFENDANT’S CASE MANAGEMENT STATEMENT
                                                  14
Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.118 Page 15 of 20



  1   submits the following proposed discovery plan:
  2                a.     Rule 26(a) Disclosures
  3         The Parties are to exchange initial disclosures on or before October 23, 2019,
  4   pursuant to the July 10, 2019 Order.
  5                b.     Discovery Subjects, Timing, and Limitations
  6         Defendant anticipates seeking discovery on the following subjects, among
  7   others:
  8      • Whether, as an initial matter, Plaintiffs have standing to assert the claims
  9         alleged on behalf of themselves or the putative class;
 10      • Viability of this action as a class action;
 11      • Plaintiffs’ claims; and
 12      • Damages allegedly suffered by Plaintiffs and the putative class.
 13   Defendant contends that discovery should proceed in phases where pre-certification
 14   discovery is limited to matters relating to the certification of the class.
 15                c.     Electronically Stored Information (“ESI”)
 16         It is not possible for Defendant to retain ESI that is not specifically identified
 17   by Plaintiffs (and Defendant should not be expected to) other than any documents
 18   that Defendant has that specifically refer to Plaintiffs. Defendant invites Plaintiffs to
 19   identify and confer regarding any specific repositories of ESI that Plaintiffs may
 20   consider relevant to this lawsuit.
 21                d.     Privilege Issues
 22         None at this time.
 23                e.      Discovery Limitations
 24         Defendant does not anticipate any changes to the rules on discovery limitations
 25   and adopts the default limitations on discovery imposed by the Federal Rules of Civil
 26   Procedure, local rules, and applicable case law. Defendant does, however, reserve the
 27   right to seek leave of Court to exceed these discovery limitations if necessary.
 28   ///
                                                4             Case No. 3:19-cv-01636-AJB-AHG
                             DEFENDANT’S CASE MANAGEMENT STATEMENT
                                                   15
Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.119 Page 16 of 20



  1                f.       Other Orders
  2         Defendant does not request any other order relating to discovery, though it
  3   may seek additional orders as discovery proceeds and if the need arises.
  4         9.     Related Cases
  5         Defendant contends that this case is related to Maria Hernandez, Azael Sanchez,
  6   and Roberto Nava v. Southwest Key Programs, Inc., et al., Case No. 3:19-cv-01281-JLS
  7   (BLM), currently pending in the United States District Court, Southern District.
  8         10.    Relief
  9         Defendant seeks an order that this matter is not certified to proceed on a class
 10   basis on any of the claims asserted, and to deny Plaintiffs any request for relief under
 11   any theory alleged in the Complaint. Defendant also reserves its right to seek
 12   attorney fees and costs.
 13         11.    Settlement
 14         The Parties have not had any formal or informal settlement discussions yet.
 15         12.    Consent to Magistrate Judge for All Purposes
 16         Defendant has reviewed the Notice of Right to Consent to Trial Before a U.S.
 17   Magistrate Judge, and does not consent to Magistrate Judge Allison H. Goddard
 18   conducting all proceedings (including trial and entry of final judgment).
 19         13.    Other References
 20         Defendant does not believe this case is suitable for reference to binding
 21   arbitration, a special master, or the Judicial Panel on Multidistrict Litigation.
 22         14.    Narrowing of Issues
 23         Defendant, at this time, does not believe this case requires severance or
 24   bifurcation of the claims.
 25         15.    Scheduling
 26         Defendant believes that it would be premature to schedule dates for trial or
 27   pretrial proceedings at this time because the class is not yet certified. Defendant
 28   requests a further status conference be set 30 days after ruling on Plaintiff’s motion
                                                 5             Case No. 3:19-cv-01636-AJB-AHG
                              DEFENDANT’S CASE MANAGEMENT STATEMENT
                                                 16
Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.120 Page 17 of 20



  1   for class certification.
  2          16.    Trial
  3          Defendant believes it is premature to determine trial length prior to class
  4   certification. However, based solely on Plaintiffs’ Complaint, Defendant estimates
  5   15 days for trial.
  6          17.    Disclosure of Non-Party Interested Entities or Persons
  7          Defendant filed its “Corporate Disclosure Statement” on August 29, 2019
  8   (ECF No. 3). Defendant certifies that Southwest Key Programs, Inc. has no parent
  9   corporation, is not a publicly traded company, and that no publicly held corporation
 10   owns 10% or more of its stock.
 11          18.    Professional Conduct
 12          Defendant’s Attorneys of Record have reviewed and agreed to abide by the
 13   Court’s Code of Conduct.
 14          19.    Class Actions
 15          Defendant proposes the following schedule:
 16          Plaintiff’s deadline to file a motion for class certification: October 30, 2020.
 17          Defendant’s opposition deadline: December 4, 2020.
 18          Plaintiff’s reply deadline: December 18, 2020.
 19          Hearing: December 28, 2020.
 20          20.    Patent Cases
 21          Not applicable.
 22          21.    Other Matters
 23          Defendant is not presently aware of any other matters at this time conducive to
 24   the just, speedy, and inexpensive resolution of this matter.
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                                                    6             Case No. 3:19-cv-01636-AJB-AHG
                                 DEFENDANT’S CASE MANAGEMENT STATEMENT
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Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.121 Page 18 of 20



  1
      DATED: October 18, 2019            OGLETREE, DEAKINS, NASH, SMOAK &
  2                                      STEWART, P.C.
  3

  4
                                         By: /s/ Glendy Lau
  5                                          Lyne A. Richardson
                                             Glendy Lau
  6                                          Attorneys for Defendant
                                             SOUTHWEST KEY PROGRAMS, INC.
  7

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                                            7             Case No. 3:19-cv-01636-AJB-AHG
                         DEFENDANT’S CASE MANAGEMENT STATEMENT
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Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.122 Page 19 of 20



  1                            CERTIFICATE OF SERVICE
                        Hernandez, et al. v. Southwest Key Programs, Inc.
  2                           Case No. 3:19-cv-01636-AJB-AHG
  3        I am and was at all times herein mentioned over the age of 18 years and not a
    party to the action in which this service is made. At all times herein mentioned I have
  4 been employed in the County of Los Angeles in the office of a member of the bar of
    this court at whose direction the service was made. My business address is 19191 S.
  5 Vermont Avenue, Suite 950, Torrance, CA 90502.

  6         On October 18, 2019, I served the following document(s):
  7                          DECLARATION OF GLENDY LAU
  8   by placing ☐ (the original) ☒ (a true copy thereof) in a sealed envelope addressed as
      follows:
  9
      ☒     BY MAIL: I placed the envelope for collection and mailing, following our
 10         ordinary business practices. I am readily familiar with the practice of Ogletree,
            Deakins, Nash, Smoak & Stewart P.C.’s practice for collecting and processing
 11         correspondence for mailing. On the same day that correspondence is placed for
            collection and mailing, it is deposited in the ordinary course of business with
 12         the United States Postal Service, in a sealed envelope with postage fully prepaid.
 13   ☒     BY CM/ECF: With the Clerk of the United States District Court of California,
            using the CM/ECF System. The Court’s CM/ECF System will send an e-mail
 14         notification of the foregoing filing to the parties and counsel of record who are
            registered with the Court’s CM/ECF System.
 15
      ☒     (Federal)    I declare that I am employed in the office of a member of the State
 16                      Bar of this Court at whose direction the service was made. I
                         declare under penalty of perjury under the laws of the United States
 17                      of America that the above is true and correct.
 18          I declare under penalty of perjury under the laws of the United States of America
      that the above is true and correct.
 19

 20         Executed on October 18, 2019, at Torrance, California.
 21

 22                                                   Carolina Martis
 23

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                                                 19                Case No. 3:19-cv-01636-AJB-AHG
                                         PROOF OF SERVICE
Case 3:19-cv-01636-AJB-AHG Document 15 Filed 10/18/19 PageID.123 Page 20 of 20



  1                                     SERVICE LIST
  2
      Zachary Crosner, Esq.                      Attorneys for Plaintiffs
  3   Michael Crosner, Esq.                      MARIA HERNANDEZ, AZAEL
      CROSNER LEGAL, P.C.                        SANCHEZ and ROBERTO NAVA
  4   433 N. Camden Drive, Suite 400
      Beverly Hills, CA 90210
  5   Tel:        (310) 496-5818
      Fax:        (310) 510-6429
  6
      Brent P. Marlis, Esq.                      Attorneys for Plaintiffs
  7   Young K. Park, Esq.                        MARIA HERNANDEZ, AZAEL
      MARLIS LAW, P.C.                           SANCHEZ and ROBERTO NAVA
  8   10940 Wilshire Blvd., Suite 600
      Los Angeles, CA 90024
  9   Tel:      (310) 431-9355
      Fax:     (424) 293-0516
 10   Email: brent@marlislaw.com
               young@marlislaw.com
 11

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                                               20          Case No. 3:19-cv-01636-AJB-AHG
                                        PROOF OF SERVICE
